PUUULS-ZIV Document 5 Filed 02/01/23 Page 1of1

AO 442 (Rev. 11/11) Arrest Warrant

 

UNITED STATES DISTRICT COURT

 

for the
District of Columbia

United States of America 7
a ) Case: 1:23-mj-19
Se ) Assigned To: Magistrate Judge Zia M. Faruqui |
) Assign. Date: 1/20/2023
) Description: Complaint with Arrest Warrant

)

a Defendant

ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) WILLIAM NICHOLS '

who is accused of an offense or violation based on the following document filed with the court:

1 Indictment () Superseding Indictment (1 Information © Superseding Information [J Complaint
1 Probation Violation Petition Supervised Release Violation Petition MViolation Notice O Order of the Court

This offense is briefly described as follows:

18 U.S.C. §§ 111(a)(1) and (b) - Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon;

18 U.S.C. § 231(a)(3) - Obstruction of Law Enforcement during Civil Disorder;

18 U.S.C. §§ 1752(a)(1) and (b)(1)(A) - Entering and Remaining in a Restricted Building or Grounds with a Deadly or Dangerous Weapon;

18 U.S.C, §§ 1752(a)(2) and (b)(1)(A) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a Deadly or Dangerous Weapon;
18 U.S.C. §§ 1752(a)(4) and (b)(1)(A) - Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or Dangerous Weapon;

40 U.S.C. § 5104(e)(2)(D) - Disorderly or Disruptive Conduct in the Capitol Grounds or Buildings;

40 U.S.C. § 5104(e)(2)(E) - Impeding Passage through the Capitol Grounds or Buildings;

 

40 U.S.C. § 5104(e)(2)(F) - Act of Physical Violence in the Capitol Grounds or Buildings. s Zia M. Faruqui
HS 2023.01.20 16:14:27
Date: 01/20/2023 ;705'00'
Issuing officer’s signature
City and state: Washington, D.C. Zia M. Faruqui, U.S. Magistrate Judge

 

 

Printed name and title

 

 

 

Return

 

 

 

This warrant was received on (date) MTS 2S , and the person was arrested on (date) Q / ] | 1923

at (city and state) R ut| ank, VT

Date: otf (| {2023 a =

Arresting officer's signature

A pay)

Printed name and title

 

 

 

 
